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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

CHERYL BUFFORD-THOMAS,                 )
                                       )
      Plaintiff,                       )
                                       )
      v.                               )        Case No. 4:22 CV 1136 RWS
                                       )
U.S. BANK N.A.,                        )
                                       )
      Defendant,                       )

                            MEMORANDUM AND ORDER

      Plaintiff Cheryl Bufford-Thomas filed this employment discrimination

lawsuit in the Circuit Court of St. Louis City against her former employer,

Defendant U.S. Bank N.A. (“US Bank”). US Bank had terminated Bufford-

Thomas’s employment in August 2021. Bufford-Thomas alleges that US Bank

discriminated against her because of her race, sex, and age in violation of the

Missouri Human Rights Act, Mo. Rev. Stat. § 213.055.1(1)(a). She also asserts a

retaliation claim under the Missouri’s Workers Compensation Act. Mo. Rev. Stat.

§§ 287.010–287.811. US Bank removed the case to this Court. US Bank has

moved for summary judgment on all of Bufford-Thomas’s claims. I will grant US

Bank summary judgment on Bufford-Thomas’s MHRA claims because she has

failed to present evidence that her termination was the result of discrimination.

Bufford-Thomas’s workers’ compensation claim will be severed and remanded
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because that claim was not removable to federal court.

      Legal Standard

      Summary judgment is appropriate if the evidence, viewed in the light most

favorable to the nonmoving party, demonstrates that there is no genuine issue as to

any material fact and that the moving party is entitled to judgment as a matter of

law. Lynn v. Deaconess Medical Center, 160 F.3d 484, 486 (8th Cir. 1998)(citing

Fed. R. Civ. P. 56(c)). The party seeking summary judgment bears the initial

responsibility of informing the court of the basis of its motion and identifying those

portions of the affidavits, pleadings, depositions, answers to interrogatories, and

admissions on file which it believes demonstrates the absence of a genuine issue of

material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). When such a

motion is made and supported by the movant, the nonmoving party may not rest on

his pleadings but must produce sufficient evidence to support the existence of the

essential elements of his case on which he bears the burden of proof. Id. at 324. In

resisting a properly supported motion for summary judgment, the plaintiff has an

affirmative burden to designate specific facts creating a triable controversy.

Crossley v. Georgia-Pacific Corp., 355 F.3d 1112, 1113 (8th Cir. 2004).

      Direct evidence of employment discrimination is rare, therefore, most cases

rely on circumstantial evidence. In the absence of direct evidence of
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discrimination, courts employ the burden shifting analysis of McDonnell Douglas

Corp. v. Green, 411 U.S. 792 (1973). (MHRA § 213.101.3 Mo. Rev. Stat.)

(Bonomo v. Boeing Co., 63 F.4th 736, 742 (8th Cir. 2023))

      Under the burden-shifting analysis, the plaintiff must first establish a prima

facie case of intentional discrimination. McDonnell Douglas, 411 U.S. at 802;

Bashara v. Black Hills Corp., 26 F.3d 820, 823 (8th Cir. 1994). If the plaintiff

establishes a prima facie case, a presumption of discrimination is established and

the burden of production shifts to the defendant to articulate a legitimate, non-

discriminatory reason for the adverse employment action. 411 U.S. at 802. The

defendant need not persuade the court that the articulated reason was the basis of

the employer’s action; rather, it must simply provide some evidence of a non-

discriminatory reason or reasons for its action. St. Mary’s Honor Center v. Hicks,

509 U.S. 502, 509 (1993).

      Upon the proffer of such evidence, the presumption of discrimination

established by the prima facie case “simply drops out of the picture.” Id. at 510-

11. The burden then shifts back to the plaintiff to prove that the reason articulated

by the employer was really a pretext for discrimination. Aucutt v. Six Flags Over

Mid-America, Inc., 85 F.3d 1311, 1316 (8th Cir. 1995). A rejection of the

employer’s proffered non-discriminatory reason by itself or combined with

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elements of the prima facie case may be enough to establish, but does not compel,

an inference of intentional discrimination. St. Mary’s Honor Center, 509 U.S. at

511.

       The burden of proving discrimination remains on the plaintiff at all times.

Id. at 515-16. It is not enough to merely discredit defendant’s articulated reason

for the adverse employment action. A plaintiff must always establish that the real

reason for defendant’s action was impermissible discrimination. Id.; see also

Huston v. McDonnell Douglas Corp., 63 F.3d 771, 777 (8th Cir. 1995). To avoid

summary judgment, a plaintiff must present evidence that, when viewed in its

entirety: (1) creates a fact issue as to whether the employer’s proffered reason is

pretextual, and (2) creates a reasonable inference that a discriminatory animus was

a motivating factor in the adverse employment decision. (MHRA § 213.010.2 Mo.

Rev. Stat.) A motivating factor means that “the employee's protected classification

actually played a role in the adverse action or decision and had a determinative

influence on the adverse decision or action.” (Id. at § 213.010.19)

       Background

       The following undisputed facts are taken from US Bank’s statement of

uncontroverted facts [ECF # 70] and Bufford-Thomas’s response including her

deposition. [ECF #s 78 and 79-1]

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      Plaintiff Cheryl Bufford-Thomas is a sixty-three-year-old African American

female. She began her employment at Defendant US Bank as a teller in 1997.

Bufford-Thomas was promoted several times during her employment. Since 2020

she held the position of Investments Operations Specialist working in

“verification.” As an operations specialist Bufford-Thomas reviewed and verified

IRA documents for systematic transactions and to ensure that US Bank had “the

appropriate documents on file for tax purposes and IRS requirements.” [ECF # 70

at ¶ 9] Bufford-Thomas reported directly to Tracie Johnson who, in turn, reported

to Laura May. During her employment before the incident that gave rise to this

lawsuit, Bufford-Thomas was never demoted, suspended, or subjected to a

reduction in pay.

      Bufford-Thomas’s employment was terminated on August 17, 2021. No one

at US Bank ever made a comment to her about her race, sex, or age during her

employment. Bufford-Thomas never complained to anyone at US Bank during her

employment that she was being discriminated based on race, sex, or age. In her

deposition, Bufford-Thomas stated that her employment was terminated at a

meeting in a conference room and during that meeting she felt that the US Bank

employees spoke to her in a tone that indicated discrimination based on race, sex,

age, and retaliation. [ECF # 79-1, Pl.’s Dep. at 81:1-25; ECF # 78 at ¶ 2] She did

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not elaborate on this claim in her deposition and confirmed that no one made

comments about her race, sex, or age. She asserts that the only act of

discrimination was her termination.

      In 2017, Bufford-Thomas filed a workers’ compensation claim due to an

injury. That claim was settled on July 22, 2021. Bufford-Thomas’s retaliation

claim is based solely on her belief that she was terminated for filing a workers’

compensation claim. [ECF # 79-1, Pl.’s Dep. at 84:2-87:25]

      The circumstances that led to Bufford-Thomas’s termination involve her

receipt of a Paycheck Protection Program (PPP) loan. In May 2021, Bufford-

Thomas received a PPP loan from UMB Bank in the amount of $20,833.00. US

Bank became aware of the loan when it was deposited in Bufford-Thomas’s US

Bank account. After learning of the PPP loan deposit, US Bank began an

investigation into the loan. US Bank Fraud Investigator Elizabeth Belt was

assigned to investigate the deposit and loan.

      US Bank employees are required to disclose any ownership they have in a

business. After a search of open-source (Google) information on the loan, US

Bank was unable to confirm that Bufford-Thomas had a business that was eligible

for a PPP loan. However, the open-source data indicated that Bufford-Thomas was

connected to a business named Little Buff N’ Stuff. This was a band that “never

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got off the ground.” [ECF # 70-3, Pl.’s Depo at 89:1-12]

      On July 22, 2021, Belt interviewed Bufford-Thomas as part of the

investigation about the PPP loan. One of Bufford-Thomas’s undisputed job

responsibilities is to cooperate with an internal investigation conducted by US

Bank. [ECF # 70 at ¶ 10] Bufford-Thomas told Belt that the loan was taken out

for a real estate business, Selah LCD Property, LLC. Bufford-Thomas stated that

the loan application was filled out by her son. However, the application contained

Bufford-Thomas’s signature. She did not review the loan application before it was

submitted. She asserts that she did not apply for the loan.

      The loan application indicated it was for a sole proprietorship. The

application also stated that the business had a gross income of $105,000 in 2019.

However, Selah LDC Property, LLC was not established prior to February 15,

2020. Bufford-Thomas earned only approximately $44,000 in 2019 as revealed by

her tax returns. Bufford-Thomas did not own any business in 2019. The loan

application also contained a code that indicated the loan was for a beauty salon.

Bufford-Thomas never owned or earned money from a beauty salon.

      As part of the fraud investigation Belt requested Bufford-Thomas to provide

additional documentation of the loan and its use no later than July 26, 2021, to

determine whether she was eligible for the loan. On August 6, 2021, Belt again

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requested Bufford-Thomas to provide the supporting documentation for the loan.

Bufford-Thomas was given until August 17, 2021, to provide the information. She

failed to produce the requested documentation. After an investigation into an

employee’ conduct, US Bank’s human resources office and the department the in

which the employee works make a decision on the discipline the employee should

receive. Human Resource Advisor Emily Keavy and Belt recommended the

termination of Bufford-Thomas’s employment. Laura May, the manager of

Buford-Thomas’s department, agreed with the recommendation based on the

sensitive nature of the CD/IRA group’s work, Bufford-Thomas’s lack of judgment,

and her failure to comply with the request to provide documentation about the loan

during the investigation. Bufford-Thomas’s employment was terminated on

August 17, 2021. The PPP loan was eventually forgiven on January 6, 2022. US

Bank was not aware of any loan forgiveness related to the PPP loan prior to

Bufford-Thomas’s termination.

      Bufford-Thomas filed this lawsuit in state court alleging that US Bank

discriminated against her because of her race, sex, and age in violation of the

Missouri Human Rights Act, Mo. Rev. Stat. § 213.055.1(1)(a). She also asserts a

retaliation claim under the Missouri’s Workers Compensation Act. Mo. Rev. Stat.

§§ 287.010–287.811. US Bank removed the case to this Court and has moved for

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summary judgment on all of Bufford-Thomas’s claims.

      Discussion

      Bufford-Thomas’s race, sex, and age discrimination claims

      The MHRA makes it unlawful for an employer to discharge any individual,

or otherwise to discriminate against any individual with respect to her

compensation, terms, conditions, or privileges of employment, because of her race,

sex, or age among other factors. Mo. Rev. Stat. § 213.055.1(1)(a). In considering a

MHRA claim, federal courts “primarily apply Missouri law but may also apply

federal employment discrimination law to the extent federal law is applicable and

authoritative under the MHRA. Missouri courts follow federal law so long as it is

consistent with Missouri law.” Button v. Dakota, Minnesota & E. R.R. Corp., 963

F.3d 824, 831 (8th Cir. 2020) (internal quotations and citations omitted).

      To establish prima facie case of discrimination under the MHRA in an

adverse employment action a plaintiff must show that: 1) she is a member of a

protected group; 2) she was qualified for her position; 3) she suffered an adverse

employment action; and 4) she was discharged under circumstances giving rise to

an inference of discrimination. Wierman v. Casey's Gen. Stores, 638 F.3d 984,

993 (8th Cir. 2011). A plaintiff can satisfy the fourth element of the prima facie

case by showing that a similarly-situated employee who was not in the plaintiff’s

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protected class was treated more favorably. Pye v. Nu Aire, Inc., 641 F.3d 1011,

1019 (8th Cir. 2011). “[T]he test for whether someone is sufficiently similarly

situated, as to be of use for comparison, is rigorous.” Johnson v. Securitas Sec.

Servs. USA, Inc., 769 F.3d 605, 613 (2014) (en banc). A plaintiff must establish

“that [she] and the employees outside of [her] protected group were similarly

situated in all relevant respects.” Id. (cleaned up). This means that the plaintiff and

the potential comparators must have “dealt with the same supervisor, have been

subject to the same standards, and engaged in the same conduct without any

mitigating or distinguishing circumstances.” Id.

      Bufford-Thomas satisfies the first three elements of a prima facie case of

discrimination. She is a member of protected groups based on her race, sex, and

age. She was qualified for her position. She was promoted during her

employment and, until her termination, had never been demoted, suspended, or

subjected to a reduction in pay. She was subjected to an adverse employment

action, the termination of her employment. However, her prima facie case falls

short because she fails to produce any evidence that US Bank subjected her to

employment discrimination. Her discrimination claim is based solely on the tone

of the meeting when she was termination. Yet she offers no evidence of any

comments, references, or any actions by US Bank employees about her race, sex,

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or age that would support a claim of discrimination from that meeting.

        Instead, Bufford-Thomas seeks to support her claim by comparing herself to

a white female supervisor, Courtney Wecker, who was accused of selling products

out of the office and hiring people and, in turn, receiving referral bonuses for the

people that she hired. Bufford-Thomas believed that Wacker had been fired

because she disappeared for over a year. [ECF # 79-1 at 118 – 122] When

Wecker “suddenly” reappeared Bufford-Thomas speculates that Wecker had

apparently been assigned to another position. Bufford-Thomas does not know

Wecker’s age. [Id. at 122:7-8] Nor has she identified any evidence in the record

that establishes Wecker’s age when she was disciplined. As a result, Bufford-

Thomas has failed to provide evidence to support an age discrimination claim

based on Wecker’s age.1 Wecker can only be offered as a comparator on race.2

        Wecker is not similarly situated to Bufford-Thomas. A plaintiff must

establish that she and the employee outside of her protected group were similarly

situated in all relevant respects. The comparator must have dealt with the same

supervisor, have been subject to the same standards, and engaged in the same


1
  Under the MHRA employees between 40 and 70 years old fall in the protected age classification. Mo. Rev. Stat. §
213.010.1(1). Bufford-Thomas has not presented any evidence that Wecker was under 40 years old and therefore
that she not in the protected group. Moreover, Bufford-Thomas and Wecker are both women. As a result, the
evidence surrounding Wecker’s circumstances cannot support a claim for sex or age discrimination. Wecker is
being offered for a comparison solely on Bufford-Thomas’s race claim.
2
  Bufford-Thomas does not identify any male employees or any employees younger than forty years old who were
treated differently than Bufford-Thomas. As a result, she does not offer any evidence in support of her sex and age
discrimination claims.
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conduct without any mitigating or distinguishing circumstances. Wecker was a

supervisor. Bufford-Thomas was not a supervisor. There is not any evidence in

the record that Wecker and Bufford-Thomas had the same supervisor, were subject

to the same standards, and engaged in the same conduct without any mitigating or

distinguishing circumstances. US Bank was investigating Bufford-Thomas’s

possible involvement with a fraudulent loan. Wecker was disciplined for selling

items at the office and receiving referral fees for people she hired. Beyond

Bufford-Thomas’s speculation about how and why Wecker was disciplined there is

not any evidence in the record to show that these two employees were similarly

situated in all relevant respects. As a result, Bufford-Thomas has failed to produce

any evidence that would support her claim of race, sex, or age discrimination.

      Moreover, even if Bufford-Thomas had established a prima facie case, US

Bank has offered a non-discriminatory reason for Bufford-Thomas’s termination.

Bufford-Thomas has not offered any evidence that would support an inference that

US Bank’s reason for its decision was based on a discriminatory motive. As a

result, US Bank is entitled to summary judgment on Bufford-Thomas’s

discrimination claims.

      Bufford-Thomas’s workers’ compensation retaliation claim

      Congress has expressly made certain claims nonremovable, including

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“action[s] ... arising under the workmen's compensation laws” of any state. 28

U.S.C. § 1445(c). When this case was removed, Bufford-Thomas’s workers’

compensation retaliation claim should have been severed and remanded to state

court. Neither of the parties raised this issue before US Bank’s motion for

summary judgment was filed. I do not have jurisdiction to adjudicate Bufford-

Thomas’s removed workers’ compensation claim. As a result, this claim will be

severed and remanded to state court.

      Accordingly,

      IT IS HEREBY ORDERED that Defendant U.S. Bank N.A. motion for

summary judgment as to Plaintiff Cheryl Bufford-Thomas’s claims of race, sex,

and age discrimination under the Missouri Human Rights Act [68] is GRANTED.

      IT IS FURTHER ORDERED that Defendant U.S. Bank N.A. motion for

summary judgment as to Plaintiff Cheryl Bufford-Thomas’s workers’

compensation retaliation claim [68] is DENIED.




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      IT IS FURTHER ORDERED that Plaintiff Cheryl Bufford-Thomas’s

workers’ compensation retaliation claim is SEVERED from this lawsuit and is

REMANDED to the Circuit Court of St. Louis City, State of Missouri.




                                    _____________________________
                                    RODNEY W. SIPPEL
                                    UNITED STATES DISTRICT JUDGE

Dated this 27th day of December, 2024.




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